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                                                         Exhibit A to the Complaint
Location: Bethlehem, PA                                                                                  IP Address: 209.122.10.96
Total Works Infringed: 31                                                                                ISP: RCN
 Work      Hashes                                                               UTC              Site           Published     Registered   Registration
 1         Info Hash: A64381041A252AD91A64156C8F12B51A4933A693                          08-24-   Blacked        08-20-2022    08-29-2022   PA0002367733
           File Hash:                                                                     2022
           2DDDE9A5514A9E98DCCFC4EA6F1978A7B303D71F9AA9B450FD96423B72AA1AEE           21:16:12
 2         Info Hash: 42920509D6F4FE3676865E34D5507154D6A0F712                          08-24-   Tushy          08-21-2022    08-29-2022   PA0002367745
           File Hash:                                                                     2022
           6E078AE96BC972618AF93C7EDFBBC229364F6220253A577C2753112DD8EC7B02           02:32:02
 3         Info Hash: DA9611E9C7E846C569D5C06970789091CF2B3B44                          08-18-   Blacked        08-15-2022    08-29-2022   PA0002367735
           File Hash:                                                                     2022   Raw
           D150538D71C52F360C335808651D9C366B117C599BC5659BCF12E09496EEA6CD           03:52:24
 4         Info Hash: F8CAD854E7DC19B53E674840B5554C76AD455AFB                          08-17-   Tushy          08-14-2022    08-30-2022   PA0002367744
           File Hash:                                                                     2022
           8EA7842640D74C90BAC1D369A2072A6125C869D9F4C82073D1032E9BE86A8A6B           00:02:46
 5         Info Hash: B0CAA4D95994248141ED9615D6C60A0EF6719C74                          08-17-   Blacked        08-13-2022    08-30-2022   PA0002367729
           File Hash:                                                                     2022
           DE6B5755622A8D5504757FB262D3BC59EAC0111811F6AD10DF462DFD9109566C           00:00:00
 6         Info Hash: D535E04CB588396BC4F9AC90F565D616FE5030B0                          08-12-   Blacked        08-06-2022    08-29-2022   PA0002367714
           File Hash:                                                                     2022
           9DB5B44495E1BEFBE91BBE830B6BF5482AEBF0A8DD24457C543CA7DDBB94119F           23:10:47
 7         Info Hash: 7BF563B4F703F30A3EA277ED404C6F7E8DC9BA49                          08-12-   Blacked        08-08-2022    08-30-2022   PA0002367749
           File Hash:                                                                     2022   Raw
           82194F9E0BA7E53546EC8BDF80B7B7899ACA230C8F95826FB3E17AB10A5EBCBE           03:43:51
 8         Info Hash: 3344C8CDFF9B33348E149E2D460B5D0E8B75DAAD                          08-07-   Vixen          08-05-2022    08-29-2022   PA0002367737
           File Hash:                                                                     2022
           23CE6E0056F366425418B280EC88830ACA49AC1CD615D692EA984E455F913557           15:15:02
 9         Info Hash: 522106AD5C604CAA38EEB8C9E645BB89B7246439                          08-03-   Tushy          07-31-2022    08-30-2022   PA0002367738
           File Hash:                                                                     2022
           E7E033B1618FD43B267E8CD0AF60A898EC2BEDA21372A6C5AE92760818965895           20:21:44
 10        Info Hash: 22F64C34048F6C532A3151D95A82FCDB8E19203E                          07-27-   Tushy          07-24-2022    08-29-2022   PA0002367746
           File Hash:                                                                     2022
           AD346A8CD6EF858B1E9B78B90620A5398A58CFA3EA6686949B09F71D08D1FAD3           18:01:16
 11        Info Hash: 480726ED66E198F5DBACFCD511A50A5080EF8F42                          07-27-   Blacked        07-25-2022    08-29-2022   PA0002367727
           File Hash:                                                                     2022   Raw
           CA67A23FB24BA3F401C41E275D1766C140D556B7FB4B77B158F63E0A46FFBDDA           17:40:34
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 57763A5B3583A13492A671B9919D28555796546C                   07-25-   Vixen     07-22-2022   08-30-2022   PA0002367741
       File Hash:                                                              2022
       7882436CAE07D7E0F422B3A2EE3582E944A93B99893003C4A5E586C8C2069DAC    00:58:47
13     Info Hash: 784C39E54E32FA8C96A54C475017FFDE7F48C39B                   07-22-   Blacked   07-16-2022   07-22-2022   PA0002359474
       File Hash:                                                              2022
       66BBD91EAA1BBE0F5265C9253176AD64FDDE965587CA162FB49DDF2E081F7755    01:12:40
14     Info Hash: 7BA60C0D1CA44FE6DC35D95F279DFF110FC90CE4                   07-22-   Blacked   07-18-2022   08-30-2022   PA0002367753
       File Hash:                                                              2022   Raw
       1647D142912BD785174AD9CDC699C31E9AEF990D9AD50FDF648593411587D6A0    00:49:31
15     Info Hash: 9484E63C729B5E6DEAA1B2A31E98075B16D914A4                   07-22-   Tushy     07-17-2022   07-22-2022   PA0002359476
       File Hash:                                                              2022
       7378EBD3719E21C39E6A186B686DAB035587EBA3566D98DBDAF723BD309BF17C    00:32:56
16     Info Hash: 97E745DBCA3A5ABB0C4DF155BF57BC99DB12CAC2                   07-13-   Blacked   07-09-2022   07-22-2022   PA0002359462
       File Hash:                                                              2022
       B91659FD65466E2815B3953087174BB6E3B5BC17921F9F1EFD17A5F646774951    19:20:15
17     Info Hash: 40926070A8063DA47ACC550050B316C90BACBF83                   07-13-   Blacked   07-11-2022   07-22-2022   PA0002359473
       File Hash:                                                              2022   Raw
       22B8ABF72350CAE58C0D59AAC0F6F96DF65218948431BED071AF314046372DE3    16:40:16
18     Info Hash: DDF350312A2BD423AF62147F3BF6ADAED1492CC4                   07-13-   Tushy     07-10-2022   07-22-2022   PA0002359469
       File Hash:                                                              2022
       81DF4D8A07F0EFCB6F4C11869DD86F8CC7AE49E1D24E4B61843A53683C366378    16:15:46
19     Info Hash: 161AC160C6D8D6E17FB8296A4A823741A618CF05                   07-07-   Blacked   07-04-2022   07-22-2022   PA0002359466
       File Hash:                                                              2022   Raw
       883E19A2C830A89E538FD9DC1F4DBDAEE9993E5BE4A2863D7F2251EB7327B34E    03:12:22
20     Info Hash: 689714F8DC47B1691B8936738C41927C15E920A7                   07-05-   Tushy     07-03-2022   07-22-2022   PA0002359464
       File Hash:                                                              2022
       41027732D6E158F29A0F485265AE99F475F214F4748B2951D584FDD0CA7BFFD1    22:03:06
21     Info Hash: 9B7406EC07DE8022005970F76906D51A274E0690                   07-02-   Blacked   06-27-2022   07-22-2022   PA0002359465
       File Hash:                                                              2022   Raw
       F99FEA73133BE233ED03F8FFC993EF324E33C4BE5424DC24FC89FEA6569664EB    15:26:03
22     Info Hash: 8241A5E05DAA67A4641B7DF29981030AA6A82700                   06-30-   Tushy     06-26-2022   07-22-2022   PA0002359467
       File Hash:                                                              2022
       93EAFB8429099F10B09FFD180369B3D777659862BB1168AD42A517C05ADAC959    20:57:09
23     Info Hash: 8250F638FC20893A0B60A732D01F8296EB9A372E                   06-20-   Blacked   06-18-2022   06-27-2022   PA0002355032
       File Hash:                                                              2022
       C0E0EE2941DF630579425C54DBFCC249222D7C1FC059F97E4137027A6C197835    16:51:21
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 4833769907447359B1AE74973646943178E54A70                   06-19-   Vixen     06-17-2022   06-27-2022   PA0002355040
       File Hash:                                                              2022
       78EB322F8D7792EE00F03A2196DEC628F7D3A24B5849AB27E0DE357EC081AF27    15:58:44
25     Info Hash: 415CB4AE74936F68AC80F8DBBFECB5F3BFDC810C                   06-18-   Tushy     05-15-2022   05-20-2022   PA0002350379
       File Hash:                                                              2022
       6CFA09064BCA3EC3B21A6AA21355BD97C3C1E1D5B28E7C2A89F5FDC21ED6787E    18:26:11
26     Info Hash: 8A4414BC40030519134802C86BA46025E694798C                   06-18-   Blacked   06-06-2022   06-27-2022   PA0002355038
       File Hash:                                                              2022   Raw
       09EB1BA3468294A9D61A8AAD066B93362510C814D2DAACD8FB086417700F5EB8    17:15:38
27     Info Hash: 34C8C1B694349A1DF59D9F3EFE5A333A6EC7F644                   06-17-   Tushy     06-12-2022   06-27-2022   PA0002354982
       File Hash:                                                              2022
       23FF03E8C3FB4FDE9345CDF7003D800AB523390D1F647D6CEE532772B08A913F    21:00:23
28     Info Hash: 141878F404F3ADC6EE96B8F9C8286F1A6D27A038                   06-17-   Blacked   05-23-2022   06-27-2022   PA0002355031
       File Hash:                                                              2022   Raw
       A8FEEA012BFA3AA2AB0B6096A186E934C32F7D67486DADBDBF922646E38A2CCC    20:35:30
29     Info Hash: A57EB25C6B5689118A2B4DDA648E25AE167E7525                   06-17-   Vixen     05-20-2022   06-27-2022   PA0002354985
       File Hash:                                                              2022
       EF9BDA642565895653F353ACCEF39910559841840128B3D5B7738C156EAFCE97    20:35:02
30     Info Hash: AF91979F566FD3D83F791FBDACF3241AF860E92C                   06-17-   Blacked   05-21-2022   06-27-2022   PA0002354986
       File Hash:                                                              2022
       597EE4589764A82DC7E08E082F3C33C99AC6FF5A0DDBEAB315B3632DF1225620    20:31:53
31     Info Hash: 4BA313390DE8B8F5CDDCE0F6D2132545ABC65A4B                   03-17-   Blacked   01-22-2022   02-14-2022   PA0002335440
       File Hash:                                                              2022
       09BA34BE40D90C07C69205C1C2FEF8AA41FB0DD3BE90FCAAEB0E25E4C034B90A    23:47:04
